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         EXHIBIT 18
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Schedule 6
iPhone Unbrickings (UBs) - Forecast (as of Week 5) Weekly UBs Beat/(Miss) % - Greater China vs. All Regions ex-GC - iPhone All
Q1 FY2019 (9/30/18 to 12/29/18)

        The data below relates to actual weekly unbrickings and forecasted unbrickings (as of week 5) in Greater China and All
        Regions excluding Greater China (ex-GC) in Q1 FY2019. The Weekly UBs Beat/(Miss) % is the percentage change between
        actual and forecast Weekly UBs for the respective region. See sources and footnotes below.

        I understand the Week 5 forecast was the most recent weekly forecast available as of the Q4 FY2018 Earnings Call.


  (units in thousands)                                             Week 1        Week 2        Week 3        Week 4        Week 5          Week 6          Week 7         Week 8         Week 9       Week 10        Week 11         Week 12          Week 13                           QTD
                                               End of Week->      10/6/2018     10/13/2018    10/20/2018    10/27/2018    11/3/2018       11/10/2018      11/17/2018     11/24/2018     12/1/2018     12/8/2018     12/15/2018      12/22/2018       12/29/2018                     End of Quarter
  Greater China [4]                      Source                       g             h             i             j             k               l               m              n             o             p              q               r           s = t - sum(g:r)       Source         t
         Actual Weekly UBs Q1 FY2019        [1]          a                867           716           707           941       1,018                936         1,378             764           663           672             773             614                 632 [5]     [2]              10,681
              Forecast UBs Q1 FY2019        [3]          b                                                                         944            1,091        1,323          1,010            919           925         1,275               990                 916
             Weekly UBs Beat/(Miss) %                 c=a/b-1                                                                       8%             ‐14%            4%            ‐24%          ‐28%          ‐27%            ‐39%            ‐38%                ‐31%

  All Regions ex-GC
         Actual Weekly UBs Q1 FY2019     See Sch. 5      d             3,318         3,145         2,990         3,423        3,549            3,289           3,154          4,126         3,745         3,710          3,667           4,352                 6,037
              Forecast UBs Q1 FY2019     See Sch. 5      e                                                                        3,604           3,871        3,839          4,657          4,295         3,874            3,868           4,969              6,126
             Weekly UBs Beat/(Miss) %                 f=d/e-1                                                                       ‐2%            ‐15%           ‐18%           ‐11%          ‐13%          ‐4%              ‐5%            ‐12%                 ‐1%

        Source Data
        Calculated Data
        Charted Data
  Sources:
   [1] The Week 13 Q1 FY2019 iPhone Extrap Report (at APL-SECLIT_00362303).
   [2] The 12/29/18 Daily Total iPhone Summary Report (at APL-SECLIT_00067341 and APL-SECLIT_00067375).
   [3] The Week 5 Q1 FY2019 Weekly iPhone Extrap Report (at APL-SECLIT_00497938).
  Footnotes:
   [4] Greater China data excludes refurbished products (refurbished products were approximately 1% of all UBs (all regions) in Q1 FY2019).
   [5] The Actual Week 13 UBs are not included in the Week 13 Extrap Report (only forecast is available), therefore I used the Total Q1 FY2019
       UBs per the 12/29/18 Daily Total iPhone Summary Report (at APL-SECLIT_00067375) and subtracted the actual weeks 1-12 UBs to derive
       the actual weekly UBs for week 13 ending 12/29/2018.




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Schedule 7 / Schedule 8
iPhone Unbrickings (UBs) - Cumulative Forecast (as of Week 5) Weekly UBs Beat/(Miss) % - Greater China vs. All Regions ex-GC - iPhone All
Q1 FY2019 (9/30/18 to 12/29/18)

        The data below relates to actual weekly unbrickings and forecasted unbrickings (as of week 5) in Greater China and All Regions excluding
        Greater China (ex-GC) in Q1 FY2019. The Cumulative Weekly UBs Beat/(Miss) % is the cumulative percentage change from Week 5
        between actual and forecast for the respective region. See sources and footnotes below.

        I understand the Week 5 forecast was the most recent weekly forecast available as of the Q4 FY2018 Earnings Call.


  (units in thousands)                                                      Week 1         Week 2        Week 3           Week 4          Week 5             Week 6                Week 7              Week 8            Week 9            Week 10            Week 11           Week 12               Week 13                            QTD
                                                        End of Week->      10/6/2018      10/13/2018    10/20/2018       10/27/2018      11/3/2018          11/10/2018            11/17/2018          11/24/2018        12/1/2018          12/8/2018         12/15/2018        12/22/2018            12/29/2018                      End of Quarter
  Greater China [4]                                Source                       g             h              i               j               k                   l                     m                   n                 o                 p                  q                 r               s = t - sum(g:r)        Source         t
                  Actual Weekly UBs Q1 FY2019         [1]         a                 867           716             707             941            1,018                 936                   1,378               764               663               672                773               614                     632 [5]     [2]              10,681
                                                                                                                                             u                   v                     w                   x                 y                 z                 aa                ab                     ac
        Forecast UBs Q1 FY2019 (as of Week 5)         [3]         b                                                                               944                 1,091                  1,323             1,010               919               925              1,275               990                     916
                                                                                                                                                                ae =                 af =                ag =              ah =              ai =               aj =              ak =                    al =
                                                                                                                                           ad =          sum(k:l) / sum(u:v)      sum(k:m) /           sum(k:n) /        sum(k:o) /        sum(k:p) /        sum(k:q) /         sum(k:r) /       sum(k:s) / sum(u:ac) -
                                                                                                                                          k/u-1                  -1              sum(u:w) - 1         sum(u:x) - 1      sum(u:y) - 1      sum(u:z) - 1      sum(u:aa) - 1     sum(u:ab) - 1                1
          Cumulative Weekly UBs Beat/(Miss) %                     c                                                                                8%                   -4%                    -1%               -6%              -10%              -13%               -17%              -20%                    -21%

  All Regions ex-GC                                                                                                                         am                   an                   ao                  ap                aq                 ar                as                 at                    au
                  Actual Weekly UBs Q1 FY2019 See Sch. 5          d              3,318         3,145             2,990           3,423           3,549                3,289                  3,154             4,126             3,745              3,710             3,667              4,352                  6,037
                                                                                                                                             av                 aw                    ax                  ay                az                ba                 bb                bc                     bd
        Forecast UBs Q1 FY2019 (as of Week 5) See Sch. 5          e                                                                              3,604                3,871                  3,839             4,657             4,295              3,874             3,868              4,969                  6,126
                                                                                                                                                               bf =                  bg =                bh =               bi =             bj =               bk =              bl =                  bm =
                                                                                                                                           be =            sum(am:an) /           sum(am:ao) /        sum(am:ap) /      sum(am:aq) /      sum(am:ar) /       sum(am:as) /      sum(am:at) /          sum(am:au) /
                                                                                                                                         am / av - 1      sum(av:aw) - 1         sum(av:ax) - 1      sum(av:ay) - 1    sum(av:az) - 1    sum(av:ba) - 1     sum(av:bb) - 1    sum(av:bc) - 1        sum(av:bd) - 1
          Cumulative Weekly UBs Beat/(Miss) %                     f                                                                                -2%                  -9%                  -12%               -12%              -12%              -11%               -10%              -10%                     -9%

        Source Data
        Calculated Data
        Charted Data
  Sources:
   [1] The Week 13 Q1 FY2019 iPhone Extrap Report (at APL-SECLIT_00362303).
   [2] The 12/29/18 Daily Total iPhone Summary Report (at APL-SECLIT_00067341 and APL-SECLIT_00067375).
   [3] The Week 5 Q1 FY2019 Weekly iPhone Extrap Report (at APL-SECLIT_00497938).
  Footnotes:
   [4] Greater China data excludes refurbished products (refurbished products were approximately 1% of all UBs (all regions) in Q1 FY2019).
    [5] The Actual Week 13 UBs are not included in the Week 13 Extrap Report (only forecast is available), therefore I used the Total Q1 FY2019 UBs per the 12/29/18
        Daily Total iPhone Summary Report (at APL-SECLIT_00067375) and subtracted the actual weeks 1-12 UBs to derive the actual weekly UBs for week 13 ending
        12/29/2018.




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